       Case 18-13766            Doc 24    Filed 07/27/18 Entered 07/27/18 08:44:16                   Desc Main
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                            EASTERN DIVISION

In re:                                                       )             Case No. 18-13766
David A Donovan                                              )             Chapter 13
                                                             )             Judge: A. Benjamin Goldgar
                                Debtor                       )


                          NOTICE OF MOTION AND CERTIFICATE OF SERVICE

       David A Donovan                                             LAVELLE LEGAL SERVICES
       1044 Fairlawn Ave.                                          1933 N MEACHAM RD #600
       Libertyville, IL 60048                                      SCHAUMBURG, IL 60173

Please take notice that on August 03, 2018 at 11:00 am, a representative of this office shall appear before the
Honorable Judge A. Benjamin Goldgar, at the North Branch Court, 1792 Nicole Lane, Round Lake Beach, IL 60073
and present the motion set forth below. Your rights may be affected. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult one.)

I certify that this office caused a copy of this notice to be delivered to the above listed debtor by depositing it in the
U.S. Mail at 801 Warrenville Road, Lisle, IL and to the debtor's attorney electronically via the Court's CM/ECF
system on July 27, 2018.


                                                                   /s/ Glenn Stearns
                                                                   FOR: Glenn Stearns, Chapter 13 Trustee

                           MOTION TO DISMISS FOR UNREASONABLE DELAY
    Now comes Glenn Stearns, Chapter 13 Trustee, and requests dismissal of the above case pursuant to
11 U.S.C. Section 1307 (c) and in support thereof, states the following:
  1.  The Debtor filed a petition under Chapter 13 on Thursday, May 10, 2018.
  2.  The Debtor has failed to:
         a. File an amended plan.
  3. As a result, the Debtor has failed to comply with the Bankruptcy Code and has caused an unreasonable
  delay that is prejudicial to creditors.

    WHEREFORE, the Trustee prays this case be dismissed for cause pursuant to Section 1307 (c).

                                                                   Respectfully Submitted;

                                                                   /s/ Glenn Stearns
Glenn Stearns, Chapter 13 Trustee
801 Warrenville Road, Suite 650                                    FOR: Glenn Stearns, Chapter 13 Trustee
Lisle, IL 60532-4350
